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. _ _ Unif_ed states m »
UNITED STATES DIsTRICT coURT S°"mem_ors¢r:§"é‘§§»§§§§
SoUTHERN DISTRICT oF TEXAS F'LED
MCALLEN DIvISIoN MAR 2 3 mg
UNTED sTATES oF AMERICA‘ § __Q§vw¢ Bradley, mark
4 - ` § - .
v. § CRIMINAL No. M - j _. _
§ _ . 9 5 9 t
LEoNEL JULIAN LoPEz, JR,_ § _ _
§ .
Defendant. ‘ §

SEALED CRIMINAL INFORMATION
THE UNITED STATES ATTORNEY CHARGES:
M _
18 U.S.C. § 666(3)(2)
Federal Program Bribery
F rom at least in or about April 2008 to on or about December 2015, in‘the_ Southern District
of Texas and elsewhere Within the jurisdiction of the court, defendant,
LEoNEL JULIAN LoPEZ, JR.,
Willfullv, knowingly, and corruptly, gave, offered, and agreed to give something of value, that i's,/
money, to a public official intending the public official to be influenced and rewarded in
connection with abusiness, transaction, and series of transactions of the City of -Weslaco, TeXas
valued at $5,000 or more, that is, contracts for construction and rehabilitation of Water treatment
facilities in the City of Weslaco, Te_xas and during that same one-year period the City of Weslaco,
Texas received benefits in excess of $10,000 under Federal programs involving a grant, contact,.

subsidy, `loan, guarantee, insurance, and other form of Federal assistance.

All in violation of Title 18, United States Code, Section 666(a)(2).

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NoTICE oF FoRFEITURE
18 U.s.c. § 981(3)(1)(€) and 28 U.s.C. § 2461(¢)

l. l Upon conviction of the offense in violation of Title 18, United States Code,
l Section 666 set forth in Count One of this lnformation, the defendant, n
LEONEL JULIAN LOPEZ, JR.

shall forfeit to the United States of America, pursuant to Title 18, United States Code, Section
981(21)(1)(€) and_'l`itle 28, United States Code, Section 2461(0), any property, real or personal,
which constitutes or is derived from proceeds traceable to the offense.

2_. _ The property subject to forfeiture, includes, but isn not limited to, the following
property: approximately $2,514,414.00 in U.S. currency. _

3. Defendant is notified that a money judgment may be imposed equal to the total '

value of the property subject to forfeiture.

4. If any of the property described above, as a result of any act or omission
of the defendant: ` _ v _i
a. ' cannot be located upon the exercise of due diligence;
b. l has been transferred or sold to, or deposited with, a third party;»
c. has been placed beyond the jurisdiction of then court;
d. has-been substantially diminished in value; or
e. has been commingled with other property which cannot be divided
without difficulty, -

the United States of America shall be entitled to forfeiture o_f substitute property pursuant to Title
l '21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(<§).

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_All pursuant to 18'U.s.C. § 981(3)(1)(€) and 28 U.s.c. § 2461(¢).

ANNALOU TIROL
Acting Chief, Public lntegrity Section

/s/ Peter M Nothstein

, Peter M. Nothstein

Jessica C. Harvey
Trial Attorneys

RYAN K. PATRICK
UNITED sTATEs ATTORNE_Y

Roberto Lo ~ r.

Assistant‘{ a ` .)tes Attorney

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